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                              25-1922
                                   ​
                               IN THE


United States Court of Appeals
                                   ​
                     FOR THE THIRD CIRCUIT




                          KALSHIEX LLC,

                          Plaintiff-Appellee

                                  vs.

                    MARY JO FLAHERTY, et al.

                        Defendants-Appellants



            On Appeal from the United States District Court
                    for the District of New Jersey
                        Case No. 1:25-cv-2152


                BRIEF OF AMICUS CURIAE
                 NEW FINANCE INSTITUTE
IN SUPPORT OF NEITHER PARTY AND IN SUPPORT OF REVERSAL​



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                    CORPORATE DISCLOSURE STATEMENT


​        Amicus curiae have no parent corporation nor does any publicly held

corporation own 10% or more of their stock.

         No counsel for a party authored this brief, in whole or in part, and no

person other than amicus curiae, their members, and their counsel made any

monetary contribution to fund the preparation or submission of this amicus

brief.

         On June 17, 2025, counsel for Amicus Curiae communicated with

counsel for the Plaintiff-Appellee and Defendants-Appellants, respectively, to

obtain consent for the instant filing. Defendants-Appellants have responded

affirmatively but Plaintiff-Appellee has not yet responded as of the date and

time of filing.




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  AMICUS CURIAE’S STATEMENT OF IDENTITY, INTEREST IN THE

               CASE AND THE SOURCE OF ITS AUTHORITY

      New Finance Institute (“NFI”) is a public benefit corporation with a mission

dedicated to advancing financial literacy and improving legal outcomes through

definitional clarity. NFI’s work centers on the premise that prosperity and informed

decision-making begin with a shared understanding of foundational financial

terms. NFI’s corporate website can be found at: www.newfinanceinstitute.com.

NFI publishes two blogs: 1) Finance 2027 (www.finance2027.com) aims to build

consensus on financial definitions; and 2) Full Court Press (www.fullcourtpress.io)

is dedicated to exploring the legal implications of financial definitions.

      NFI has been an active participant in the courts and has submitted multiple

amicus briefs, including in SEC v. Coinbase Inc., No. 1:23-cv-04738 (S.D.N.Y.)

and SEC v. Binance Holdings, Ltd., No. 1:23-cv-01599 (D.D.C.), both of which

have since been dismissed. With a connection to this matter, NFI offered its

perspective on the regulatory treatment of event contracts in its comment letter to

the Commodity Futures Trading Commission (“CFTC”) on August 8, 2024. This

amicus brief draws on NFI’s holistic, multi-disciplinary approach to assist the

Court. By situating the legal questions in their proper financial and historical

context, NFI aims to provide the Court with a distinct and constructive viewpoint

to assist in resolving the issues presented.


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                         PRELIMINARY STATEMENT

      This is a case of agency inaction, not preemption. After watching the

prediction markets for over 30 years and doing very little, the CFTC–faced with

the prospect of nationalized sports gambling through federally regulated

markets–chose, for the first time, not to utilize the most powerful tool Congress

had unquestionably empowered it with: Its discretionary review authority on event

contracts. This Court should reverse not on the basis of preemption, but on the

CFTC’s failure to act.

      It was the CFTC’s non-enforcement following the Supreme Court’s repeal of

the Professional and Amateur Sports Protection Act of 1992 (“PASPA”), 28 U.S.C.

§§ 3701–3704, in 2018 that enabled sports gambling under the incorrect premise

that states have the right to regulate sports gambling. Murphy v. National

Collegiate Athletic Association, 584 U.S. 453 (2018). In reality, the states never

had that authority. Now that sports gambling has gained significant traction across

many states, designated contract markets, including Kalshi, are seizing the

opportunity; they want to offer sports gambling to residents of all states. While this

bodes well for industry stakeholders, it raises serious concerns for citizens who

value consistent enforcement of the law. Kalshi’s opponent–the State of New

Jersey (through its representatives)–remains resolute, though hampered by

statutory limitations, and largely unwilling to acknowledge that its seven-year


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successful sports gambling run was merely the result of a regulatory gap created by

the CFTC’s inaction. Worse still, New Jersey as well as other states realize that

acknowledging federal preemption would most likely halt not only designated

contracts markets like Kalshi–a favorable outcome for the states–but also

jeopardizes the sportsbooks and other operators they have licensed. That poses an

existential threat to the very ecosystem they have labored to build.

      Caught between a rock and hard place, the states, including New Jersey,

have reluctantly tethered their fate to an unconvincing preemption argument,

hoping it will buy them time. While their predicament may warrant some

sympathy, clinging to the fiction of the states having regulatory authority over

sports gambling is no panacea to heal their wounds.

      Although the State of New Jersey lacks a compelling legal argument,

affirming the preliminary injunction would produce an even more troubling result:

It would edge the country closer to the de facto legalization of sports betting

nationwide. There is little serious debate that Kalshi’s offerings qualify as sports

bets– Congress didn’t think so, the CFTC didn’t think so, and even Kalshi didn’t

think so. If residents of New Jersey–or any other state–wish to legalize sports

gambling, the appropriate course is through Congress.

      Until and unless that occurs, the law remains unambiguous: There can be no

sports gambling on a CFTC-regulated exchange, and, as inconvenient as it may


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sound, none at all in any state, on any platform. As the Supreme Court emphasized

in Murphy, “[t]he legalization of sports gambling requires an important policy

choice, but the choice is not ours to make.” Murphy v. National Collegiate Athletic

Association, 584 U.S. 453, 490 (2018). That observation applies equally to the

CFTC. Its failure to act cannot substitute for congressional judgment, nor can it

provide legal cover for what amounts to the backdoor legalization of sports

gambling.

      Fortunately, both Congress and the Supreme Court have anticipated the risks

posed by regulatory vacuums and implemented meaningful safeguards. Congress,

through the Administrative Procedure Act (“APA”), has limited agency overreach;

and the Supreme Court, in its recent decision in Loper Bright, revived the principle

that “[t]he [APA] requires courts to exercise their independent judgment in

deciding whether an agency has acted within its statutory authority…” Loper

Bright Enterprises v. Raimondo, 603 US 369 (2024).

      Together, these safeguards provide a strong legal foundation for this Court to

reverse the preliminary injunction, ensuring that this critically important case can

proceed on the merits. The residents of New Jersey–and indeed, of the entire

nation–deserve no less.




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                                      ARGUMENT

I.​   The CFTC Has Sole Decision-Making Powers Over Sports Gambling.

      A.​    The Commodity Exchange Act (“CEA”) Preempted The Field.

      The question of whether futures markets constitute gambling is hardly novel.

In fact, 19th-century courts were inundated with attempts to resolve precisely that

issue. After decades of judicial uncertainty, the Supreme Court ultimately held that

the contracts for the future sale of cotton did not constitute wagers under New

York’s anti-gambling statute. Bibb v. Allen et al., 149 U.S. 481 (1893). The related

question–whether contracts settled through the payment of differences rather than

physical delivery constituted gambling–was resolved twelve years later by the

Supreme Court: “Set-off has all the effects of delivery… The fact that contracts are

satisfied in this way by set-off and the payment of differences detracts in no degree

from the good faith of the parties.” Board of Trade v. Christie Grain and Stock

Company, 198 U.S. 236, 248 (1905).

      Those two Supreme Court decisions laid the groundwork for the emergence

of futures trading on organized exchanges–and began the long process of adapting

statutory and regulatory frameworks to accommodate it. Futures markets, by their

very nature, have always walked a tightrope. Speculation, an act of individuals is

useful, unless it is excessive, which turns the market into a gambling platform as a

whole.


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      The tension was evident as early as 1921. In advocating for legislation to

regulate grain futures, Senator Capper declared: “The one vital industry on which

the Nation's welfare and prosperity depend, must have its chance to live and

prosper if the rest of us expect to, and if it is to have this chance, the grain gambler

must go.” 61 Cong. Rec. 4768 (1921). While well-intentioned, Senator Capper

arguably misidentified the source of harm. A person speculating on grain prices

was not, in and of themselves, the problem. Nor did speculation alone turn the

futures exchange into a casino–unless it became excessive.

      The Commodity Exchange Act of 1936 signaled a recalibrated attitude

toward speculation. No longer vilified as mere gamblers, speculators were recast in

more favorable terms: "[T]hat class of citizens … who like to test their judgment

concerning values and price trends by occasional and moderate speculation

therein." H.R. REP. No. 421, 74th Cong., 1st Sess. 3 (1935). Congress had come to

recognize that if the hedger was the yin, the speculator was the yang–each essential

to the functioning of a healthy futures market.

      This symbiotic view endures. As one CFTC commissioner put it decades

later, describing the dynamic between commercial hedgers and financial

participants: “‘[C]ommercials’ … have an underlying interest in the physical

commodity. Now, to take the other side of futures positions, there needs to be

speculators… [W]ithout speculators, there would be no market.” Bart Chilton,


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Fighting Futures (November 1, 2010), Speech of Commissioner Bart Chilton at the

University of Notre Dame.1

        Three central questions continued to guide Congress’s approach to federal

oversight of futures transactions: i) whether a dedicated federal agency was

appropriate, given the cross-border nature of these markets; ii) how much

preemptive authority that agency would possess; and iii) how would the agency

distinguish publicly useful contracts from impermissible gambling. Congress

answered all three with the enactment of the Commodity Futures Trading

Commission Act of 1974, which i) established the CFTC; ii) granted it exclusive

jurisdiction over commodity futures transactions, and iii) introduced the economic

purpose test as the analytical framework for distinguishing permissible contracts

from disguised wagers.

        The CFTC’s exclusive jurisdiction is codified at 7 U.S.C. § 2(a)(1)(A),

granting the agency authority over “transactions involving swaps or contracts of

sale of a commodity for future delivery.” One contemporaneous law review article,

citing the relevant Senate Conference Report noted: “The legislative history clearly

indicates that Congress intended to preempt state jurisdiction over the transactions

that the Act covers. A sentence in the Commodity Exchange Act which could have

been construed as continuing state law in the field was purposefully deleted from


1
    Available at https://www.cftc.gov/PressRoom/SpeechesTestimony/opachilton-34.

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the Act to assure preemption of state regulatory authority. The Conference Report

on the final bill stated that the Commission ‘would preempt the field insofar as

futures regulation is concerned.’ Therefore, if any substantive state law regulating

futures trading is contrary to or inconsistent with the Act, the Act will govern. In

view of the broad grant of authority to the Commission, the conferees did not

contemplate a need for any supplementary regulation by the states.” Graham

Purcell and Abelardo Lopez Valdez, The Commodity Futures Trading Commission

Act of 1974: Regulatory Legislation for Commodity Futures Trading in a

Market-Oriented Economy, 21 S.D. L. Rev. 555, 573-74 (1976) (internal citations

omitted).

      Against the backdrop of Congress’s clear intent, courts started to enforce

federal preemption: An Alabama district court held that “the Alabama gambling

statutes, if construed to require actual delivery, would directly conflict with the

federal purpose of fostering the markets in that they would destroy the markets in

this state, and that Congress has preempted the field.” Paine, Webber, Jackson &

Curtis, Inc. v. Conaway, 515 F. Supp. 202, 207 (N.D. Ala. 1981).

      Importantly, state involvement wasn’t eliminated entirely as states retained

authority over fraud and abuse. As the Eighth Circuit explained, “[T]he continued

existence of common law fraud actions permitting punitive damages awards does

not conflict with the regulatory scheme established by the [CEA].” Kerr v. First


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Commodity Corp. of Boston, 735 F.2d 281, 288 (8th Cir. 1984). But characterizing

commodity transactions as gambling falls squarely within the CFTC’s purview.

The Alabama district court highlighted that critical distinction: “Although there is

no federal interest in whether a state prevents fraudulent commodity transactions,

there unquestionably is a federal interest in whether a state brands commodity

transactions as ‘gambling.’" Paine, Webber, Jackson & Curtis, Inc. v. Conaway,

515 F. Supp. 202, 206 (N.D. Ala. 1981). Congress did not intend for each state to

reach its own conclusion as to whether a futures contract constitutes a wager. That

determination belongs to the CFTC–using the tool that Congress empowered them

with: the economic purpose test, which is “an evaluation of whether a contract

reasonably can be expected to be, or has been, used for hedging and/or pricing

basing on more than an occasional basis” Event Contracts, 89 Fed. Reg. 48,968,

48,978 (June 10, 2024) (to be codified at 17 C.F.R. pt. 40).

       Congress revisited this structure in the Commodity Futures Modernization

Act of 2000 (“CFMA”), which made two significant changes. First, it expanded the

CFTC’s jurisdiction by creating the “excluded commodity” category–sweeping in

virtually any contingent event not expressly prohibited by Congress. Second, and

more consequentially, it repealed the economic purpose test, eliminating the very

standard that had historically guided the Commission’s judgment about which

contracts served legitimate commercial functions and which crossed the line into


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gambling. Lacking a clear statutory standard for distinguishing publicly useful

contracts from gambling, the CFTC continued to rely on the economic purpose

test–a framework that, though no longer codified, remained the best available

framework to guide its decisions. That changed in KalshiEX LLC v. CFTC, when

the Commission abandoned that longstanding approach in favor of a newfound

interpretation of “gaming,” ultimately leading the court to reject its reasoning and

permit Kalshi to list and trade its election contracts. KalshiEX LLC v. CFTC, No.

1:23-cv-03257 (D.D.C.).

      B.​    Sports Is An Excluded Commodity.

      Kalshi’s sports event contracts story is neither unique, nor novel. As early as

2001, courts encountered efforts to cast sports prediction markets in the form of

futures trading. As Cohen described in his petition for certiorari, he was

“[i]ntrigued by the interest shown by his fellow traders in casual sports betting that

mimicked the operation of the financial markets–trading in so-called sports

‘futures’–[and] … explored the possibility of establishing an Internet business that

would permit such betting.” See Petition for Writ of Certiorari at 4, Cohen v.

United States, 536 U.S. 922 (2002) (No. 01-1521). Jay Cohen, CEO of World

Sports Exchange, built a platform whose “sole business involved bookmaking on

American sports events.” United States v. Cohen, 260 F.3d 68, 71 (2d Cir. 2001),

cert. denied, 536 U.S. 922 (2002). Cohen correctly observed that in form, these


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contracts mirrored financial instruments. But, in substance, they lacked any

legitimate economic purpose. What ultimately sank Cohen was the Wire Act, see

18 U.S.C. § 1084–but his enduring legacy is the articulation of what we now

recognize as ‘sports futures.’

      The CFTC began signaling its view that sports-based contracts may fall

within its jurisdiction as early as 2004. In evaluating HedgeStreet’s proposed event

contracts, the Commission noted: “HedgeStreet has stated, however, that it intends

to list only contracts that have a legitimate economic purpose and does not intend

to list for trading contracts based on terrorist activity or gambling activities, such as

the outcome of sporting events.” Designation Memorandum: HedgeStreet, Inc.,

U.S. Commodity Futures Trading Commission (Feb. 10, 2004).2

      In 2008, the Commission inquired further: “How should the Commission

address the potential gaming aspects of some event contracts and the possible

pre-emption of state gaming laws?” Concept Release on the Appropriate

Regulatory Treatment of Event Contracts, Fed. Reg. 25,669, 25,670 (May 7, 2008).

While stopping short of directly naming sports outcomes, the Commission

effectively answered its own question by declaring broad jurisdictional authority,

stating: “Although futures contracts that failed the economic purpose test were


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 Available at
https://www.cftc.gov/sites/default/files/files/opa/opahedgestreetdesignationmemo0
21704.pdf.

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prohibited from trading on futures exchanges and thus illegal because of the

on-exchange trading requirement, they (and any instrument with identical terms)

remained futures contracts, fully subject to the Commission’s jurisdiction.” Id. at

25,672 (emphasis added).

      Despite these early signals predating even the Dodd-Frank Act, the CFTC

did not have occasion to formally address self-certified sports event contracts until

a decade later, when ErisX self-certified contracts tied to NFL outcomes on

December 15, 2020. The Commission initiated review within nine days, and

although ErisX withdrew its contracts before a final decision was rendered, one

Commissioner publicly expressed their interpretations of the Commission’s

position emphasizing that economic purpose remains critical. See Statement of

Commissioner Dan M. Berkovitz Related to Review of ErisX Certification of NFL

Futures Contracts: Sports Event Contracts: No Dice Unless There is an Economic

Purpose and the Exchange is Open to the Public, April 7, 2021.3 Another

commissioner opined that sports events qualify as excluded commodities and

should be treated like all others: “But what about an event? An election? Whether

the Summer Olympics will occur in Japan? A …. football game? Those, too, are

commodities!” See Statement of Commissioner Brian D. Quintenz on ErisX


3
 Available at
https://www.cftc.gov/PressRoom/SpeechesTestimony/berkovitzstatement040721.


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RSBIX NFL Contracts and Certain Event Contracts: Any Given Sunday in the

Futures Market (March 25, 2021) (“Quintenz Statement.”)4

      Trying to find an escape in the statutory language, New Jersey insists that

sports bets fall outside the Commission’s jurisdiction by arguing they do not meet

the definition of an “excluded commodity” because they supposedly lack

“financial, economic, or commercial consequence.” See 7 U.S.C. § 1a(19)(iv). That

claim is untenable. No serious observer would assert that sporting events drawing

audiences of close to 130 million people–alongside billions in advertising,

merchandising and tourism–have no economic effect. The state’s argument might

have more merit if it distinguished between events with consequential economic

impacts (e.g., Super Bowl) and those without (e.g., under-10 recreational

basketball). But that standard would invite an unworkable line-drawing problem:

Who decides how much consequence is enough?

      Ironically, the state hints at the better answer without fully embracing it. A

clearer boundary exists between artificially manufactured games solely for

gambling, such as roulette, and events naturally occurring for recreational,

professional, or entertainment purposes, like sports. While that may appear to be a

wide regulatory net to enforce, there is a self-correction mechanism built in: Events


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 Available at
https://www.cftc.gov/PressRoom/SpeechesTestimony/quintenzstatement032521.


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with no serious economic interest will attract no sustainable speculative activity,

and should any dubious contract arise, the CFTC retains the enforcement power to

shut it down–much as authorities distinguish between organized gambling rings

and a neighborhood poker game. In other words, the materiality of consequence

doesn’t determine jurisdiction, it simply guides enforcement priorities.

      C.​ Gambling Through Futures is a Matter Left To the Federal
      Government

​     When the State of New Jersey led the charge to repeal PASPA, 28 U.S.C.

§§ 3701–3704, its central thesis was that gambling regulation is a matter reserved

to the states. The American Gaming Association (“AGA”) echoed that view in its

Supreme Court amicus brief, citing a case in support that had nothing to do with

sports gambling: “That Congress has generally exempted state-run lotteries and

casinos from federal gambling legislation reflects a decision to defer to, and even

promote, differing gambling policies in different States.” Greater New Orleans

Broad. Ass’n v. United States, 527 U.S. 173, 187 (1999) (emphasis added). Five

state amici committed the same error, cherry-picking a single line from a 1905

case: “The suppression of gambling is concededly within the police powers of a

state.” See Brief of Amici Curiae States of West Virginia, Arizona, Louisiana,

Mississippi, and Wisconsin in Support of Petitioners 19-20, Christie v. NCAA, No.

16-476 (U.S. filed Nov. 2016) (citing Ah Sin v. Wittman, 198 U.S. 500 (1905)). But,



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Ah Sin involved traditional games of chance–cards and dice–not contingent event

markets with national reach.

​     It is no coincidence that states have long been entrusted with regulating

casino-style gambling. This is so because games do not implicate interstate

commerce. A hand of blackjack played in Atlantic City does not cross state lines.

But a sports bet, even when placed by in-state bettors, is inherently tied to a

contingent event that occurs outside the state’s borders.

​     Essentially, the question whether gambling is subject to state vs. federal

jurisdiction comes down to two clearly delineated limiting principles: i) Artificially

created events (such as the spin of a roulette wheel, the lottery draw, etc.) vs.

naturally occurring contingent events (a sports game, elections, weather, etc.); and

ii) proximity of the bettor to the contingent event, in particular, whether the

contingent event occurs outside the state’s borders.

​     Not realizing the jurisdiction-shifting nature of these two factors, New

Jersey cites the Interstate Horseracing Act of 1978 in support of its ill-conceived

assertion that states have jurisdiction over gambling. But that statute is a poor

analogue. Horseracing resembles a casino game more than it resembles a futures

contract: It is an artificially created event, organized mostly for the purpose of

wagering–horses do not spontaneously race themselves. Moreover, at the time of

the Horseracing Act’s passage, horseracing was largely local and off-track betting


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was a nascent practice. The statute itself reflects this narrow scope, emphasizing

that “[t]he States should have the primary responsibility for determining what

forms of gambling may legally take place within their borders,” but “any off-track

betting office shall obtain the approval of all currently operating tracks within 60

miles of such off-track betting office.”” Interstate Horseracing Act of 1978, 15

U.S.C. § 3001(a)(1)–(3). As such, New Jersey’s reliance on the Horseracing Act as

evidence that gambling is a matter reserved to the states is misplaced.

​     A similar fate awaits the argument the tribes are expected to raise

surrounding the alleged violation of the Indian Gaming Regulatory Act (“IGRA”)

in light of the CFTC preemption. Kalshi’s contracts are not Class III games under

the statute; in fact, IGRA does not mention sports gambling at all. See 25 U.S.C. §§

2701–2721. As its name suggests, IGRA governs gambling games–not gambling

on contingent events. It is the implementing regulation, 25 C.F.R. § 502.4(c) that

expansively defines Class III gaming to include sports betting. The definitional

blunder was, and remains, a regulatory overreach with no bearing on this case.

      D.​    Federal Inaction Enabled the Regulatory Model New Jersey Now

      Opposes

      New Jersey seeks to frame this dispute as one of federal preemption–because

that narrative serves its interests. But the inconvenient reality facing New Jersey,

and every other state that legalized sports gambling post-PASPA repeal is this:


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Under the Dodd-Frank Act, sports wagers constitute unregulated event contracts

(and also swaps), and the platforms offering them are in violation of the CEA,

because they are either impermissible off-exchange trading venues, and/or,

unregistered swap execution facilities. Incoming CFTC Chairman Brian Quintenz

didn’t mince words about the legality of event contracts that don’t serve public

interest on- or off-exchange: “[I]f the Commission deems any event contract that

involves one of the enumerated activities to be contrary to the public interest, that

contract is banned from trading on any registered futures exchange. The contract

cannot trade anywhere else either since it is still a commodity futures contract and,

if traded off of an exchange would be illegal.” See Quintenz Statement (emphasis

added).

      This is not a case about preemption; it is a case about inaction. The CFTC’s

political decision not to act–not its lack of legal authority–is what enabled the rise

of regulated sportsbooks without federal oversight. That inertia suited the

states–until it no longer did. Now that the regulatory tide threatens to shift, their

outcry rings hollow.

      If sports events or outcomes associated with those events do qualify as

excluded commodities–and they do–the entire legal foundation of state-authorized

sportsbooks collapses. And the possibility of federal preemption, while

inconvenient for many, is hardly surprising to anyone who reads the statute


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carefully and honestly. The Nevada Resort Association, seeing the writing on the

wall, raised concerns about this exact regulatory risk: “Kalshi’s preemption

argument could even result in a bizarre result that the CFTC has authority over

some types of state sports betting, not currently traded on a CFTC exchange… To

the extent that the sports bets offered by Kalshi are considered to be swaps and so

the CFTC has exclusive jurisdiction over such swaps, then this could even require

other types of sports bets to be only offered on a CFTC exchange.” See Nevada

Resort Association’s Emergency Motion to Intervene, KalshiEX, LLC v. Hendrick,

No. 2:25-cv-00575-APG-BNW (D. Nev. Apr. 9, 2025). Yes, the CFTC has

exclusive jurisdiction, but no, they can’t be offered on CFTC-registered exchanges

- or anywhere else- because they are prohibited event contracts, which Kalshi itself

has admitted many times in its election markets litigation against the CFTC.

Judicial estoppel aside, Kalshi’s abrupt about-face– made in a matter of

days–underscores the inconsistency of its positions and weighs heavily in favor of

a reversal.

      The truth is, the states caught a lucky break. For years, they allowed

state-licensed operators to offer unregulated event contracts on sports under the

theory that they retained exclusive authority to regulate sports gambling within

their borders. They did not. Now, as the legal scaffolding wobbles, their true

grievance is laid bare–not that they are losing a right, but that they are losing a


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revenue stream they never had a legal right to claim in the first place. Sympathy

may be warranted–but sympathy cannot trump statute.



II.​   The APA Strongly Favors Reversal.

       A.​   The CFTC’s Actions Are “Unreasonably Delayed.”

       The CFTC has been watching for a long time. As Acting Chair Caroline

Pham recently acknowledged, “the CFTC has been looking at [prediction markets]

like for 30 years.” See Yahoo Finance, Acting CFTC Chair Discusses Future of

Crypto Regulation Under Trump, June 12, 2025.5 As early as 2004, the

Commission warned HedgeStreet–a designated contract market– not to list

contracts contingent on the outcome of sporting events. See supra, Section I.B. In

its 2008 Concept Release, the Commission raised concerns about “potential

gaming aspects of some event contracts” and solicited public comment on their

treatment. Id. Yet, despite these early acknowledgements, there is still no “formal

statutory or regulatory definition [of gaming]” Event Contracts, 89 Fed. Reg.

48,968, 48,988 (June 10, 2024) (to be codified at 17 C.F.R. pt. 40). That is a rather

astonishing delay (15 years) for what is arguably the most important word of the

Dodd-Frank Act when it comes to event contracts. The CFTC’s only attempt to


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  Available at
https://finance.yahoo.com/video/acting-cftc-chair-discusses-future-201942402.html
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define “gaming” emerged in its proposed rulemaking on event contracts–an effort

that appeared more aligned with bolstering its litigation posture in KalshiEx, LLC

than with establishing a durable regulatory framework. In any event, the proposed

rule–which is unlikely to be finalized in its current form– explicitly defines

“gaming” to include event contracts contingent on the outcome of a game. Id.

      The Commission’s historical pace of initiating review further underscores its

present inaction. When NADEX self-certified its election contracts on December

19, 2011, the CFTC initiated review after waiting 14 days. ErisX self-certified on

December 15, 2020 and it took the CFTC only nine days to initiate review. Lastly,

a review was initiated in just 11 days when Kalshi self-certified its election

contracts on June 12, 2023. But, inexplicably, Kalshi’s sports event

contracts–which closely mirror the ErisX submission–have now languished

without review for nearly five months and counting.

      The CFTC’s failure to act is not merely a policy choice–it constitutes a

violation of the APA, which authorizes courts to “compel agency action unlawfully

withheld or unreasonably delayed.” See 5 U.S.C. § 706(1). Courts have long

recognized that agency action may become unlawful when it is unreasonably

delayed, and long delays create a presumption of unreasonableness. See In re

American Rivers, 372 F.3d 413, 419 (D.C. Cir 2004) (“A reasonable time for

agency action is typically counted in weeks or months, not years.”); see also


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Telecomms. Research & Action Ctr. v. FCC (“TRAC”), 750 F.2d 70 (D.C. Cir.

1984) (establishing the six-factor TRAC balancing test for unreasonable delay).

The CFTC’s prolonged silence in the face of ever-expanding sports gambling is not

just problematic—it is a violation under the APA. And while the CFTC is not a

party to this case, its silence is precisely what enables Kalshi to continue to

operate.

      B.​      Failure to Act is Agency Action That Creates a Need For Relief

      Alternatively, the APA provides another remedy: hold unlawful and set aside

agency action, findings, and conclusions under certain circumstances, including,

arbitrary, capricious, and abuse of discretion, or otherwise not in accordance with

law. See 5 U.S.C. § 706(2). Critically, “agency action” includes the whole or a part

of an agency rule, order, license, sanction, relief, or the equivalent or denial

thereof, or failure to act.” See 5 U.S.C. § 551 (emphasis added).

      Inaction, at scale, becomes policy. Courts have long recognized that an

agency’s failure to enforce–or refusal to act–may carry the same weight as

affirmative agency action. In Heckler v. Chaney, 470 U.S. 821 (1985), the Supreme

Court explained that agency non-enforcement decisions are presumptively immune

from judicial review, primarily because they are committed to agency discretion by

law. But Heckler also involved a narrow request: federal prisoners sought to




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compel the FDA to stop the use of unapproved drugs in lethal injections—a

discrete enforcement question affecting a handful of individuals.

      By contrast, the CFTC’s sustained inaction in the face of proliferating event

contracts involving sports is not an isolated act of non-enforcement–it is a systemic

choice. And unlike Heckler, where inaction preserved the status quo, the CFTC’s

silence here has allowed entire gambling markets to bloom unchecked.

      The CFTC’s inaction is too consequential to be justified by competing

priorities or resource constraints–it creates a regulatory vacuum that reshapes the

legal landscape entirely. The longer the CFTC refrains from exercising its

authority, the more deeply entrenched these markets become, making future

oversight politically fraught and practically difficult.

      The consequence is staggering. Where the FDA’s enforcement choice

affected a few individuals, the CFTC’s restraint enables a gambling infrastructure

available to virtually every person in the United States. When an agency allows

that scale of economic and legal transformation without rulemaking, adjudication,

or guidance, it is no longer passive. It is governing by silence.

      C.​    The CFTC’s Inaction Is Final

      Finality is a critical consideration under the APA: “Agency action made

reviewable by statute and final agency action for which there is no other adequate

remedy in a court are subject to judicial review.” See 5 U.S.C. § 704. This creates a


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conundrum: the phrase “agency action” clearly includes “failure to act,” i.e.

inaction, “[b]ut what would it even mean to say a court must render null and void

an agency’s failure to act?” United States v. Texas, 599 U.S. 670, 697 (2023).

Finality of inaction, unlike finality of action, is a rather tricky concept, but the way

the statute is constructed, it should mean something, otherwise, the statute becomes

superfluous. The danger of not applying the APA based on supposed non-finality

of inaction is obvious: It would incentivize a regulator to not take action. Incoming

Chairman Quintenz hinted at this very possibility: “[I]f the Commission decides to

punt on analyzing a specific contract’s public interest, the Commission has not

shirked its statutory duty, because there is no obligation to make any

determinations at all.” See Quintenz Statement. But it would frustrate

congressional purpose if futures contracts in violation of the law continue to be

traded simply because the agency decided to punt.

      In addition to failing to timely define “gaming” or review contracts likely

lacking economic purpose–something it had routinely done in the past, including

for election markets that at least claimed some predictive or hedging utility– the

CFTC has demonstrated other signs of inaction as well. For example, it has made

little effort to document or memorialize stakeholder feedback. On February 5,

2025, after identifying “several key obstacles to balanced regulation of prediction

markets,” including “federal circuit court of appeals and district court orders and


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opinions, including that ‘gaming involves games’; the CFTC’s legal arguments and

litigating positions in several ongoing federal court cases; CFTC-registered

entities’ legal arguments in court that event contracts based on games or sports

contests or sporting events constitute ‘gaming’ and are therefore prohibited under

the Commodity Exchange Act,” among others, the Commission announced a

prediction markets roundtable (emphasis added). See CFTC Release No. 9046-25

(Feb. 5, 2025).6 It then abruptly cancelled the roundtable. See Event Horizon,

CFTC Cancels Prediction Markets Roundtable.7 Perhaps wary of creating another

“obstacle,” the CFTC then voluntarily dropped its appeal in KalshiEX LLC v.

CFTC, No. 24-5205 (D.C. Cir. 2024) (dismissed). More recently, presumptive

CFTC Chairman Brian Quintenz stated that he doesn’t have “any plans to issue any

guidance [for prediction markets] in the near term.” See Event Horizon, Everything

CFTC Pick Quintenz Said About Prediction Markets In Senate Hearing (June 10,

2025).8

      Evaluated in isolation, any one of these individual actions may not rise to

final action. Certainly, it is well within the Commission’s right to not pursue

rulemaking in a certain area given conflicting priorities and resource constraints,

6
  Available at https://www.cftc.gov/PressRoom/PressReleases/9046-25.
7
  Available at
https://nexteventhorizon.substack.com/p/news-cftc-cancels-prediction-markets
8
  Available at
https://nexteventhorizon.substack.com/p/everything-cftc-pick-quintenz-said.


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to not initiate a discretionary review, or to voluntarily drop a case it no longer

wishes to pursue. However, taken together, the parts unmistakably point to an

undeniable whole: The CFTC does not intend to take meaningful action on sports

event contracts.

      If the CFTC’s examples of inaction, even collectively, are not considered

final for the purposes of applying the APA, that conclusion would beg the question:

What exactly would make them final? Absent this court reversing injunction, Kalshi

would continue to offer the contracts subjecting the residents of all 50 states to

sports gambling on any given day, an outcome Congress couldn’t possibly have

intended.

      D.​    Preliminary Injunction is Inconsistent with Loper Bright

      For four decades following Chevron U.S.A. Inc. v. Natural Resources

Defense Council, Inc., 467 U.S. 837 (1984), federal agencies operated under the

protective canopy of the Chevron deference, which instructed courts to uphold an

agency’s reasonable interpretation of an ambiguous statute. That era ended with the

Supreme Court’s landmark decision in Loper Bright Enterprises v. Raimondo, 603

U.S. 369 (2024), which overruled Chevron and reasserted the Judiciary’s role in

interpreting statutes. The Court held that “[t]he Administrative Procedure Act

requires courts to exercise their independent judgment in deciding whether an

agency has acted within its statutory authority,” and that courts “may not defer to


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an agency interpretation of the law simply because a statute is ambiguous.” Id. at

372.

       Even under the now-defunct Chevron standard, the CFTC’s position would

have been difficult to defend–Congress spoke clearly in granting the Commission

exclusive jurisdiction over futures contracts, including those involving gaming, and

that gaming includes sports bets is unambiguous. But Loper Bright resets the

standard entirely: agency interpretations now receive respect, not deference—and

only when earned through consistency and reasoned explanation.

       The CFTC’s conduct fails that test. From 2012 to 2025, the Commission’s

approach to event contracts has shifted repeatedly. In the first election market case,

the Commission denied approval based on the economic purpose test. Order

Prohibiting the Listing or Trading of Political Event Contracts, CFTC (April 2,

2012).9 In 2021, ErisX’s NFL contracts were poised for denial on the same

grounds, as reflected in the Commissioners public statements: “The [proposed but

not finalized] Order concluded that the ‘record in this matter does not establish that

the ErisX NFL event contracts have a hedging utility,’ and the contracts ‘do not

form the basis for the pricing of a commercial transaction involving a physical

commodity, financial asset or service.’” See Quintenz Statement.


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 Available at
https://www.cftc.gov/sites/default/files/idc/groups/public/@rulesandproducts/docu
ments/ifdocs/nadexorder040212.pdf.

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         Kalshi’s election contracts were initially denied on economic purpose

grounds. See Order Disapproving Congressional Control Political Event

Contracts, CFTC, Release No. 8780-23 (Sept. 22, 2023).10 Once in litigation, the

Commission pivoted to a hastily constructed “gaming” definition instead and lost.

KalshiEX LLC v. CFTC, No. 1:23-cv-03257 (D.D.C.).

         When the CFTC appealed, the appeals court signaled during oral argument

that it could lean into the economic purpose test as the most plausible statutory

reading, but the Commission ultimately decided to abandon the case altogether.

KalshiEX LLC v. CFTC, No. 24-5205 (D.C. Cir. 2024) (dismissed).

         Most recently, the CFTC inexplicably declined to even initiate its

discretionary review of Kalshi’s sports event contracts–despite their clear

resemblance to ErisX’s NFL futures contracts just four years earlier.

         This is not consistency. It is regulatory improvisation. And under Loper

Bright, such vacillation does not merit judicial deference. The court made clear that

“respect” must be earned through reasoned consistency, not asserted through

institutional habit. The CFTC’s shifting rationales–bouncing between the economic

purpose test and denouncing it, not to mention its outright silence–do not reflect a

stable interpretation of law. The oscillation reflects uncertainty and perhaps

political expediency.


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     Available at https://www.cftc.gov/PressRoom/PressReleases/8780-23.

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      In this post-Chevron landscape, it is the judiciary–not the agency–that must

interpret the statute. The CFTC’s actions–or lack thereof–do not warrant deference;

they warrant scrutiny.



                                  CONCLUSION


      For over a decade, the Commodity Futures Trading Commission has

invoked—and revoked—regulatory theories without clarity or consistency,

permitting the growth of unregulated markets while disclaiming responsibility.

Meanwhile, Congress has spoken plainly: Contracts involving contingent events,

including sports, fall within the scope of federal commodity futures regulation.


      The agency's prolonged failure to apply that authority, paired with its

shifting rationale for intervention–or lack thereof–, strongly suggests that affirming

the injunction would not serve the public interest. The lines drawn by Congress

—not the silence or inconsistency of regulators–must guide this Court.


      For the foregoing reasons, NFI respectfully requests that this Court reverse.




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Dated: June 23, 2025​                                      Respectfully submitted,


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New York, New York​                           Scott D. Brenner

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                   CERTIFICATE OF BAR ADMISSION



Admitted on June 16, 2025.




Dated: June 23, 2025​   ​     ​        ​        ​     /s/ Scott D. Brenner​

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​    ​    ​      ​    ​       ​        ​        ​     Attorney for Amici Curiae
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      I hereby certify that on June 23, 2025, I electronically filed the foregoing

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Circuit using the appellate CM/ECF system. To the best of my knowledge, all

parties to this appeal are represented by counsel who are registered CM/ECF

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                                        /s/ Scott D. Brenner​

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